               Case 2:15-cr-00144-SMJ                   ECF No. 638            filed 12/01/16        PageID.2836 Page 1 of 8
 2$2 %      5HY  -XGJPHQW LQ D &ULPLQDO &DVH
               6KHHW  5HYLVHG E\ :$('  
                                                                                                                                   FILED IN THE
                                                                                                                               U.S. DISTRICT COURT

                                            81,7(' 67$7(6 ',675,&7 &2857                                                 EASTERN DISTRICT OF WASHINGTON



                                                 (DVWHUQ 'LVWULFW RI :DVKLQJWRQ                                           Dec 01, 2016
           81,7(' 67$7(6 2) $0(5,&$                                      JUDGMENT IN A CRIMINAL CASE SEAN F. MCAVOY, CLERK
                      V.
                    HUNTER H. HALEY                                      &DVH 1XPEHU           2:15CR00144-SMJ-4

                                                                         860 1XPEHU             19451-085

                                                                               Colin G. Prince
                                                                         'HIHQGDQW¶V $WWRUQH\




 THE DEFENDANT

 ✔SOHDGHG JXLOW\ WR FRXQW V
 G                                   1, 42, and 59 of the Indictment
 G SOHDGHG QROR FRQWHQGHUH WR FRXQW V
    ZKLFK ZDV DFFHSWHG E\ WKH FRXUW
 G ZDV IRXQG JXLOW\ RQ FRXQW V
    DIWHU D SOHD RI QRW JXLOW\

 7KH GHIHQGDQW LV DGMXGLFDWHG JXLOW\ RI WKHVH RIIHQVHV

 Title & Section                            Nature of Offense                                                                  Offense Ended Count
18 U.S.C. § 1349                        Conspiracy to Commit Bank Fraud                                                           11/03/14     1
18 U.S.C. § 1028A(a)(1)                 Aggravated Identity Theft                                                                 10/26/14    42
18 U.S.C. § 1708                        Possession of Stolen Mail                                                                 10/28/14    59



        7KH GHIHQGDQW LV VHQWHQFHG DV SURYLGHG LQ SDJHV  WKURXJK                   8      RI WKLV MXGJPHQW 7KH VHQWHQFH LV LPSRVHG SXUVXDQW WR
 WKH 6HQWHQFLQJ 5HIRUP $FW RI 
 G 7KH GHIHQGDQW KDV EHHQ IRXQG QRW JXLOW\ RQ FRXQW V
 ✔&RXQW V
 G             All remaining counts                              G LV    ✔
                                                                         G DUH GLVPLVVHG RQ WKH PRWLRQ RI WKH 8QLWHG 6WDWHV
          ,W LV RUGHUHG WKDW WKH GHIHQGDQW PXVW QRWLI\ WKH 8QLWHG 6WDWHV DWWRUQH\ IRU WKLV GLVWULFW ZLWKLQ  GD\V RI DQ\ FKDQJH RI QDPH UHVLGHQFH
 RU PDLOLQJ DGGUHVV XQWLO DOO ILQHV UHVWLWXWLRQFRVWV DQG VSHFLDO DVVHVVPHQWV LPSRVHG E\ WKLV MXGJPHQW DUH IXOO\ SDLG ,I RUGHUHG WR SD\ UHVWLWXWLRQ
 WKH GHIHQGDQW PXVW QRWLI\ WKH FRXUW DQG 8QLWHG 6WDWHV DWWRUQH\ RI PDWHULDO FKDQJHV LQ HFRQRPLF FLUFXPVWDQFHV

                                                           11/29/2016
                                                          'DWH RI ,PSRVLWLRQ RI -XGJPHQW




                                                          6LJQDWXUH RI -XGJH




                                                          The Honorable Salvador Mendoza, Jr.                Judge, U.S. District Court
                                                          1DPH DQG 7LWOH RI -XGJH


                                                             12/01/2016
                                                          'DWH
                Case 2:15-cr-00144-SMJ                  ECF No. 638         filed 12/01/16         PageID.2837 Page 2 of 8
$2 %        5HY  -XGJPHQW LQ &ULPLQDO &DVH
              6KHHW  ² ,PSULVRQPHQW

                                                                                                         -XGJPHQW ² 3DJH   2       RI   8
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4


                                                               IMPRISONMENT

       7KH GHIHQGDQW LV KHUHE\ FRPPLWWHG WR WKH FXVWRG\ RI WKH )HGHUDO %XUHDX RI 3ULVRQV WR EH LPSULVRQHG IRU D WRWDO
WHUP RI

 Time heretofore served by the defendant. Defendant shall not serve any additional term of imprisonment with respect to each of Counts 1,
 42 and 59.



     G 7KH FRXUW PDNHV WKH IROORZLQJ UHFRPPHQGDWLRQV WR WKH %XUHDX RI 3ULVRQV




     G 7KH GHIHQGDQW LV UHPDQGHG WR WKH FXVWRG\ RI WKH 8QLWHG 6WDWHV 0DUVKDO

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU WR WKH 8QLWHG 6WDWHV 0DUVKDO IRU WKLV GLVWULFW
          G     DW                                    G D P     G S P         RQ                                             

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

     G 7KH GHIHQGDQW VKDOO VXUUHQGHU IRU VHUYLFH RI VHQWHQFH DW WKH LQVWLWXWLRQ GHVLJQDWHG E\ WKH %XUHDX RI 3ULVRQV
          G     EHIRUH  SP RQ                                            

          G     DV QRWLILHG E\ WKH 8QLWHG 6WDWHV 0DUVKDO

          G     DV QRWLILHG E\ WKH 3UREDWLRQ RU 3UHWULDO 6HUYLFHV 2IILFH


                                                                    RETURN
, KDYH H[HFXWHG WKLV MXGJPHQW DV IROORZV




          'HIHQGDQW GHOLYHUHG RQ                                                           WR

DW                                                      ZLWK D FHUWLILHG FRS\ RI WKLV MXGJPHQW



                                                                                                      81,7(' 67$7(6 0$56+$/


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                                                                                                   '(387< 81,7(' 67$7(6 0$56+$/
             Case 2:15-cr-00144-SMJ                 ECF No. 638       filed 12/01/16        PageID.2838 Page 3 of 8
$2 % 5HY    -XGJPHQW LQ D &ULPLQDO &DVH
                     6KHHW  ² 6XSHUYLVHG 5HOHDVH
                                                                                                     -XGJPHQW²3DJH     3     RI       8
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4
                                                     SUPERVISED RELEASE
8SRQ UHOHDVH IURP LPSULVRQPHQW \RX ZLOO EH RQ VXSHUYLVHG UHOHDVH IRU D WHUP RI           3 years
Said term of supervised release consists of 3 years with respect to Count 1; 1 year with respect to Count 42; and 3 years with
respect to Count 59. To be served concurrently with each other.


                                                    MANDATORY CONDITIONS
   <RX PXVW QRW FRPPLW DQRWKHU IHGHUDO VWDWH RU ORFDO FULPH
   <RX PXVW QRW XQODZIXOO\ SRVVHVV D FRQWUROOHG VXEVWDQFH LQFOXGLQJ PDULMXDQD ZKLFK UHPDLQV LOOHJDO XQGHU IHGHUDO ODZ
   <RX PXVW UHIUDLQ IURP DQ\ XQODZIXO XVH RI D FRQWUROOHG VXEVWDQFH <RX PXVW VXEPLW WR RQH GUXJ WHVW ZLWKLQ  GD\V RI UHOHDVH IURP
     LPSULVRQPHQW DQG DW OHDVW WZR SHULRGLF GUXJ WHVWV WKHUHDIWHU DV GHWHUPLQHG E\ WKH FRXUW
            G 7KH DERYH GUXJ WHVWLQJ FRQGLWLRQ LV VXVSHQGHG EDVHG RQ WKH FRXUW V GHWHUPLQDWLRQ WKDW \RX
               SRVH D ORZ ULVN RI IXWXUH VXEVWDQFH DEXVH (check if applicable)
    ✔
      G <RX PXVW FRRSHUDWH LQ WKH FROOHFWLRQ RI '1$ DV GLUHFWHG E\ WKH SUREDWLRQ RIILFHU (check if applicable)
    G <RX PXVW FRPSO\ ZLWK WKH UHTXLUHPHQWV RI WKH 6H[ 2IIHQGHU 5HJLVWUDWLRQ DQG 1RWLILFDWLRQ $FW  86&   et seq DV
        GLUHFWHG E\ WKH SUREDWLRQ RIILFHU WKH %XUHDX RI 3ULVRQV RU DQ\ VWDWH VH[ RIIHQGHU UHJLVWUDWLRQ DJHQF\ LQ ZKLFK \RX UHVLGH ZRUN
        DUH D VWXGHQW RU ZHUH FRQYLFWHG RI D TXDOLI\LQJ RIIHQVH (check if applicable)
    G <RX PXVW SDUWLFLSDWH LQ DQ DSSURYHG SURJUDP IRU GRPHVWLF YLROHQFH (check if applicable)

<RX PXVW FRPSO\ ZLWK WKH VWDQGDUG FRQGLWLRQV WKDW KDYH EHHQ DGRSWHG E\ WKLV FRXUW DV ZHOO DV ZLWK DQ\ RWKHU FRQGLWLRQV RQ WKH DWWDFKHG
SDJH
             Case 2:15-cr-00144-SMJ                   ECF No. 638        filed 12/01/16        PageID.2839 Page 4 of 8
$2 % 5HY     -XGJPHQW LQ D &ULPLQDO &DVH
                      6KHHW $ ² 6XSHUYLVHG 5HOHDVH
                                                                                               -XGJPHQW²3DJH        4         RI        8
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4

                                      STANDARD CONDITIONS OF SUPERVISION
$V SDUW RI \RXU VXSHUYLVHG UHOHDVH \RX PXVW FRPSO\ ZLWK WKH IROORZLQJ VWDQGDUG FRQGLWLRQV RI VXSHUYLVLRQ 7KHVH FRQGLWLRQV DUH LPSRVHG
EHFDXVH WKH\ HVWDEOLVK WKH EDVLF H[SHFWDWLRQV IRU \RXU EHKDYLRU ZKLOH RQ VXSHUYLVLRQ DQG LGHQWLI\ WKH PLQLPXP WRROV QHHGHG E\ SUREDWLRQ
RIILFHUV WR NHHS LQIRUPHG UHSRUW WR WKH FRXUW DERXW DQG EULQJ DERXW LPSURYHPHQWV LQ \RXU FRQGXFW DQG FRQGLWLRQ

    <RX PXVW UHSRUW WR WKH SUREDWLRQ RIILFH LQ WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH \RX DUH DXWKRUL]HG WR UHVLGH ZLWKLQ  KRXUV RI \RXU
      UHOHDVH IURP LPSULVRQPHQW XQOHVV WKH SUREDWLRQ RIILFHU LQVWUXFWV \RX WR UHSRUW WR D GLIIHUHQW SUREDWLRQ RIILFH RU ZLWKLQ D GLIIHUHQW WLPH
      IUDPH
    $IWHU LQLWLDOO\ UHSRUWLQJ WR WKH SUREDWLRQ RIILFH \RX ZLOO UHFHLYH LQVWUXFWLRQV IURP WKH FRXUW RU WKH SUREDWLRQ RIILFHU DERXW KRZ DQG
      ZKHQ \RX PXVW UHSRUW WR WKH SUREDWLRQ RIILFHU DQG \RX PXVW UHSRUW WR WKH SUREDWLRQ RIILFHU DV LQVWUXFWHG
    <RX PXVW QRW NQRZLQJO\ OHDYH WKH IHGHUDO MXGLFLDO GLVWULFW ZKHUH \RX DUH DXWKRUL]HG WR UHVLGH ZLWKRXW ILUVW JHWWLQJ SHUPLVVLRQ IURP WKH
      FRXUW RU WKH SUREDWLRQ RIILFHU
    <RX PXVW EH WUXWKIXO ZKHQ UHVSRQGLQJ WR WKH TXHVWLRQV DVNHG E\ \RXU SUREDWLRQ RIILFHU
    <RX PXVW OLYH DW D SODFH DSSURYHG E\ WKH SUREDWLRQ RIILFHU ,I \RX SODQ WR FKDQJH ZKHUH \RX OLYH RU DQ\WKLQJ DERXW \RXU OLYLQJ
      DUUDQJHPHQWV VXFK DV WKH SHRSOH \RX OLYH ZLWK  \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU DW OHDVW  GD\V EHIRUH WKH FKDQJH ,I QRWLI\LQJ
      WKH SUREDWLRQ RIILFHU LQ DGYDQFH LV QRW SRVVLEOH GXH WR XQDQWLFLSDWHG FLUFXPVWDQFHV \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ 
      KRXUV RI EHFRPLQJ DZDUH RI D FKDQJH RU H[SHFWHG FKDQJH
    <RX PXVW DOORZ WKH SUREDWLRQ RIILFHU WR YLVLW \RX DW DQ\ WLPH DW \RXU KRPH RU HOVHZKHUH DQG \RX PXVW SHUPLW WKH SUREDWLRQ RIILFHU WR
      WDNH DQ\ LWHPV SURKLELWHG E\ WKH FRQGLWLRQV RI \RXU VXSHUYLVLRQ WKDW KH RU VKH REVHUYHV LQ SODLQ YLHZ
    <RX PXVW ZRUN IXOO WLPH DW OHDVW  KRXUV SHU ZHHN DW D ODZIXO W\SH RI HPSOR\PHQW XQOHVV WKH SUREDWLRQ RIILFHU H[FXVHV \RX IURP
      GRLQJ VR ,I \RX GR QRW KDYH IXOOWLPH HPSOR\PHQW \RX PXVW WU\ WR ILQG IXOOWLPH HPSOR\PHQW XQOHVV WKH SUREDWLRQ RIILFHU H[FXVHV
      \RX IURP GRLQJ VR ,I \RX SODQ WR FKDQJH ZKHUH \RX ZRUN RU DQ\WKLQJ DERXW \RXU ZRUN VXFK DV \RXU SRVLWLRQ RU \RXU MRE
      UHVSRQVLELOLWLHV  \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU DW OHDVW  GD\V EHIRUH WKH FKDQJH ,I QRWLI\LQJ WKH SUREDWLRQ RIILFHU DW OHDVW 
      GD\V LQ DGYDQFH LV QRW SRVVLEOH GXH WR XQDQWLFLSDWHG FLUFXPVWDQFHV \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV RI
      EHFRPLQJ DZDUH RI D FKDQJH RU H[SHFWHG FKDQJH
    <RX PXVW QRW FRPPXQLFDWH RU LQWHUDFW ZLWK VRPHRQH \RX NQRZ LV HQJDJHG LQ FULPLQDO DFWLYLW\ ,I \RX NQRZ VRPHRQH KDV EHHQ
      FRQYLFWHG RI D IHORQ\ \RX PXVW QRW NQRZLQJO\ FRPPXQLFDWH RU LQWHUDFW ZLWK WKDW SHUVRQ ZLWKRXW ILUVW JHWWLQJ WKH SHUPLVVLRQ RI WKH
      SUREDWLRQ RIILFHU
    ,I \RX DUH DUUHVWHG RU TXHVWLRQHG E\ D ODZ HQIRUFHPHQW RIILFHU \RX PXVW QRWLI\ WKH SUREDWLRQ RIILFHU ZLWKLQ  KRXUV
   <RX PXVW QRW RZQ SRVVHVV RU KDYH DFFHVV WR D ILUHDUP DPPXQLWLRQ GHVWUXFWLYH GHYLFH RU GDQJHURXV ZHDSRQ LH DQ\WKLQJ WKDW ZDV
      GHVLJQHG RU ZDV PRGLILHG IRU WKH VSHFLILF SXUSRVH RI FDXVLQJ ERGLO\ LQMXU\ RU GHDWK WR DQRWKHU SHUVRQ VXFK DV QXQFKDNXV RU WDVHUV 
   <RX PXVW QRW DFW RU PDNH DQ\ DJUHHPHQW ZLWK D ODZ HQIRUFHPHQW DJHQF\ WR DFW DV D FRQILGHQWLDO KXPDQ VRXUFH RU LQIRUPDQW ZLWKRXW
      ILUVW JHWWLQJ WKH SHUPLVVLRQ RI WKH FRXUW
   ,I WKLV MXGJPHQW LPSRVHV UHVWLWXWLRQ D ILQH RU VSHFLDO DVVHVVPHQW LW LV D FRQGLWLRQ RI VXSHUYLVHG UHOHDVH WKDW \RX SD\ LQ DFFRUGDQFH
      ZLWK WKH 6FKHGXOH RI 3D\PHQWV VKHHW RI WKLV MXGJPHQW <RX VKDOO QRWLI\ WKH SUREDWLRQ RIILFHU RI DQ\ PDWHULDO FKDQJH LQ \RXU HFRQRPLF
      FLUFXPVWDQFHV WKDW PLJKW DIIHFW \RXU DELOLW\ WR SD\ DQ\ XQSDLG DPRXQW RI UHVWLWXWLRQ ILQH RU VSHFLDO DVVHVVPHQWV
   <RX PXVW IROORZ WKH LQVWUXFWLRQV RI WKH SUREDWLRQ RIILFHU UHODWHG WR WKH FRQGLWLRQV RI VXSHUYLVLRQ



U.S. Probation Office Use Only
$ 86 SUREDWLRQ RIILFHU KDV LQVWUXFWHG PH RQ WKH FRQGLWLRQV VSHFLILHG E\ WKH FRXUW DQG KDV SURYLGHG PH ZLWK D ZULWWHQ FRS\ RI WKLV
MXGJPHQW FRQWDLQLQJ WKHVH FRQGLWLRQV )RU IXUWKHU LQIRUPDWLRQ UHJDUGLQJ WKHVH FRQGLWLRQV VHH Overview of Probation and Supervised
Release Conditions DYDLODEOH DW ZZZXVFRXUWVJRY


'HIHQGDQW V 6LJQDWXUH                                                                                    'DWH
            Case 2:15-cr-00144-SMJ                   ECF No. 638       filed 12/01/16        PageID.2840 Page 5 of 8
$2 %     5HY  -XGJPHQW LQ D &ULPLQDO &DVH
           6KHHW ' ² 6XSHUYLVHG 5HOHDVH
                                                                                                      -XGJPHQW²3DJH      5      RI       8
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 2. You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 3. You shall not open, possess, use, or otherwise have access to any checking account, ATM card, or credit card, without the advance
 approval of the supervising officer.

 4. You shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
 of the supervising officer.

 5. You shall submit your person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be
 subject to search.
             Case 2:15-cr-00144-SMJ                       ECF No. 638               filed 12/01/16           PageID.2841 Page 6 of 8
$2 % 5HY        -XGJPHQW LQ D &ULPLQDO &DVH
                         6KHHW  ² &ULPLQDO 0RQHWDU\ 3HQDOWLHV
                                                                                                                -XGJPHQW ² 3DJH       6       RI     8
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4
                                                 CRIMINAL MONETARY PENALTIES
     7KH GHIHQGDQW PXVW SD\ WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV XQGHU WKH VFKHGXOH RI SD\PHQWV RQ 6KHHW 

                         Assessment                   JVTA Assessment*                      Fine                        Restitution
TOTALS               $         $300.00            $          $0.00                      $          $0.00            $
                                                                                                                                  $3,490.93


G 7KH GHWHUPLQDWLRQ RI UHVWLWXWLRQ LV GHIHUUHG XQWLO                         . $Q Amended Judgment in a Criminal Case (AO 245C) ZLOO EH HQWHUHG
     DIWHU VXFK GHWHUPLQDWLRQ

✔
G 7KH GHIHQGDQW PXVW PDNH UHVWLWXWLRQ LQFOXGLQJ FRPPXQLW\ UHVWLWXWLRQ WR WKH IROORZLQJ SD\HHV LQ WKH DPRXQW OLVWHG EHORZ
     ,I WKH GHIHQGDQW PDNHV D SDUWLDO SD\PHQW HDFK SD\HH VKDOO UHFHLYH DQ DSSUR[LPDWHO\ SURSRUWLRQHG SD\PHQW XQOHVV VSHFLILHG RWKHUZLVH LQ
     WKH SULRULW\ RUGHU RU SHUFHQWDJH SD\PHQW FROXPQ EHORZ +RZHYHU SXUVXDQW WR  86&   L  DOO QRQIHGHUDO YLFWLPV PXVW EH SDLG
     EHIRUH WKH 8QLWHG 6WDWHV LV SDLG

    Name of Payee                                                                 Total Loss**             Restitution Ordered      Priority or Percentage
    U.S. Bank                                                                                $1,270.93                  $1,270.93
    U.S. Bank                                                                                $1,350.00                  $1,350.00
    JP Morgan Chase Bank                                                                      $870.00                    $870.00




                                                                 3,490.93                                    3,490.93
TOTALS                                  $                                           $


G     5HVWLWXWLRQ DPRXQW RUGHUHG SXUVXDQW WR SOHD DJUHHPHQW 

G     7KH GHIHQGDQW PXVW SD\ LQWHUHVW RQ UHVWLWXWLRQ DQG D ILQH RI PRUH WKDQ  XQOHVV WKH UHVWLWXWLRQ RU ILQH LV SDLG LQ IXOO EHIRUH WKH
      ILIWHHQWK GD\ DIWHU WKH GDWH RI WKH MXGJPHQW SXUVXDQW WR  86&   I  $OO RI WKH SD\PHQW RSWLRQV RQ 6KHHW  PD\ EH VXEMHFW
      WR SHQDOWLHV IRU GHOLQTXHQF\ DQG GHIDXOW SXUVXDQW WR  86&   J 

✔ 7KH FRXUW GHWHUPLQHG WKDW WKH GHIHQGDQW GRHV QRW KDYH WKH DELOLW\ WR SD\ LQWHUHVW DQG LW LV RUGHUHG WKDW
G
      ✔
      G WKH LQWHUHVW UHTXLUHPHQW LV ZDLYHG IRU WKH                G ILQH        ✔ UHVWLWXWLRQ
                                                                                G
      G WKH LQWHUHVW UHTXLUHPHQW IRU WKH              G ILQH         G      UHVWLWXWLRQ LV PRGLILHG DV IROORZV

  -XVWLFH IRU 9LFWLPV RI 7UDIILFNLQJ $FW RI  3XE / 1R 
   )LQGLQJV IRU WKH WRWDO DPRXQW RI ORVVHV DUH UHTXLUHG XQGHU &KDSWHUV $  $ DQG $ RI 7LWOH  IRU RIIHQVHV FRPPLWWHG RQ RU
DIWHU 6HSWHPEHU   EXW EHIRUH $SULO  
$2 %      Case
            5HY  2:15-cr-00144-SMJ
                       -XGJPHQW LQ D &ULPLQDO &DVH    ECF No. 638         filed 12/01/16     PageID.2842 Page 7 of 8
            6KHHW  ² 6FKHGXOH RI 3D\PHQWV

                                                                                                      -XGJPHQW ² 3DJH    7     RI          8
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4

                                                      SCHEDULE OF PAYMENTS

+DYLQJ DVVHVVHG WKH GHIHQGDQW¶V DELOLW\ WR SD\ SD\PHQW RI WKH WRWDO FULPLQDO PRQHWDU\ SHQDOWLHV DUH GXH DV IROORZV

A    G     /XPS VXP SD\PHQW RI                             GXH LPPHGLDWHO\ EDODQFH GXH

           G      QRW ODWHU WKDQ                                 RU
           G      LQ DFFRUGDQFH          G &        G '   G     ( RU    G ) EHORZ RU
B    ✔ 3D\PHQW WR EHJLQ LPPHGLDWHO\ PD\ EH FRPELQHG ZLWK
     G                                                                    G &     G ' RU    ✔) EHORZ  RU
                                                                                              G
C    G     3D\PHQW LQ HTXDO                    HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                        RYHU D SHULRG RI
                        HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU WKH GDWH RI WKLV MXGJPHQW RU

D    G     3D\PHQW LQ HTXDO                     HJ ZHHNO\ PRQWKO\ TXDUWHUO\ LQVWDOOPHQWV RI                      RYHU D SHULRG RI
                         HJ PRQWKV RU \HDUV  WR FRPPHQFH                  HJ  RU  GD\V DIWHU UHOHDVH IURP LPSULVRQPHQW WR D
           WHUP RI VXSHUYLVLRQ RU

E    G     3D\PHQW GXULQJ WKH WHUP RI VXSHUYLVHG UHOHDVH ZLOO FRPPHQFH ZLWKLQ                  HJ  RU  GD\V DIWHU UHOHDVH IURP
           LPSULVRQPHQW 7KH FRXUW ZLOO VHW WKH SD\PHQW SODQ EDVHG RQ DQ DVVHVVPHQW RI WKH GHIHQGDQW¶V DELOLW\ WR SD\ DW WKDW WLPH RU

F    ✔ 6SHFLDO LQVWUXFWLRQV UHJDUGLQJ WKH SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a <monthly/quarterly> basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is less, commencing 30 days after the defendant is released from imprisonment.


8QOHVV WKH FRXUW KDV H[SUHVVO\ RUGHUHG RWKHUZLVH LI WKLV MXGJPHQW LPSRVHV LPSULVRQPHQW SD\PHQW RI FULPLQDO PRQHWDU\ SHQDOWLHV LV GXH
GXULQJ WKH SHURLG RI LPSULVRQPHQW $OO FULPLQDO PRQHWDU\ SHQDOWLHV H[FHSW WKRVH SD\PHQWV PDGH WKURXJK WKH )HGHUDO %XUHDX RI 3ULVRQV¶
,QPDWH )LQDQFLDO 5HVSRQVLELOLW\ 3URJUDP DUH PDGH WR WKH IROORZLQJ DGGUHVV XQWLO PRQHWDU\ SHQDOWLHV DUH SDLG LQ IXOO &OHUN 86 'LVWULFW
&RXUW $WWHQWLRQ )LQDQFH 32 %R[  6SRNDQH :$ 

7KH GHIHQGDQW VKDOO UHFHLYH FUHGLW IRU DOO SD\PHQWV SUHYLRXVO\ PDGH WRZDUG DQ\ FULPLQDO PRQHWDU\ SHQDOWLHV LPSRVHG

✔ -RLQW DQG 6HYHUDO
G
     'HIHQGDQW DQG &R'HIHQGDQW 1DPHV DQG &DVH 1XPEHUV LQFOXGLQJ GHIHQGDQW QXPEHU  7RWDO $PRXQW -RLQW DQG 6HYHUDO $PRXQW
     DQG FRUUHVSRQGLQJ SD\HH LI DSSURSULDWH
          Hunter H. Haley 2:15-CR-144-SMJ-04                 $1,270.93           $1,270.93    U.S. Bank
          Darin Dykhouse 2:15-CR-144-SMJ-01                  $1,270.93           $1,270.93    U.S. Bank
          Melissa C. Clark 2:15-CR-144-SMJ-02                $1,270.93           $1,270.93    U.S. Bank
G    7KH GHIHQGDQW VKDOO SD\ WKH FRVW RI SURVHFXWLRQ

G    7KH GHIHQGDQW VKDOO SD\ WKH IROORZLQJ FRXUW FRVW V 

G    7KH GHIHQGDQW VKDOO IRUIHLW WKH GHIHQGDQW¶V LQWHUHVW LQ WKH IROORZLQJ SURSHUW\ WR WKH 8QLWHG 6WDWHV




3D\PHQWV VKDOO EH DSSOLHG LQ WKH IROORZLQJ RUGHU  DVVHVVPHQW  UHVWLWXWLRQ SULQFLSDO  UHVWLWXWLRQ LQWHUHVW  ILQH SULQFLSDO
  ILQH LQWHUHVW  FRPPXQLW\ UHVWLWXWLRQ  -97$ DVVHVVPHQW  SHQDOWLHV DQG  FRVWV LQFOXGLQJ FRVW RI SURVHFXWLRQ DQG
FRXUW FRVWV
          Case 2:15-cr-00144-SMJ                    ECF No. 638       filed 12/01/16      PageID.2843 Page 8 of 8
$2 %    5HY  -XGJPHQW LQ D &ULPLQDO &DVH
          6KHHW $ ² 6FKHGXOH RI 3D\PHQWV
                                                                                                -XGJPHQW²3DJH    8            8
                                                                                                                     RI
'()(1'$17 HUNTER H. HALEY
&$6( 180%(5 2:15CR00144-SMJ-4

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                      Joint and Several                Corresponding Payee,
(including defendant number)                         Total Amount          Amount                         If appropriate
 Hunter H. Haley 2:15-CR-144-SMJ-04                       $1,350.00          $1,350.00     U.S. Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                        $1,350.00          $1,350.00     U.S. Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                      $1,350.00          $1,350.00     U.S. Bank
 Tasean Witherwax 2:15-CR-144-SMJ-09                      $1,350.00          $1,350.00     U.S. Bank
 Hunter H. Haley 2:15-CR-144-SMJ-04                         $450.00            $450.00     JPMorgan Chase Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $450.00            $450.00     JPMorgan Chase Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $450.00            $450.00     JPMorgan Chase Bank
 Jason D. Beckham 2:15-CR-144-SMJ-13                        $450.00            $450.00     JPMorgan Chase Bank
 Hunter H. Haley 2:15-CR-144-SMJ-04                         $420.00            $420.00     JPMorgan Chase Bank
 Darin Dykhouse 2:15-CR-144-SMJ-01                          $420.00            $420.00     JPMorgan Chase Bank
 Melissa C. Clark 2:15-CR-144-SMJ-02                        $420.00            $420.00     JPMorgan Chase Bank
 Roger M. Roberts 2:15-CR-144-SMJ-14                        $420.00            $420.00     JPMorgan Chase Bank
